Case 8:11-cr-00356-JSM-AAS Document 270 Filed 05/01/12 Page 1 of 6 PagelD 968

AO 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION

UNITED STATES OF AMERICA

CASE NUMBER:
USM NUMBER:

vs.

ANTONIO LEWIS SMITH

Defendant's Attorney: Franklyn Louderback, ret.

THE DEFENDANT:

_X_ pleaded guilty to count(s) ONE, TWO, and THREE of the Indictment.

__ pleaded nolo contendere to count(s) which was accepted by the court.
__ was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION NATURE OF OFFENSE

21 U.S.C. §§ 841(a)C1), Conspiracy to Possess with Intent to

841(b)(1)(A)(ii) and 846 Distribute Five Kilograms or More of
Cocaine

21 U.S.C. §§ 841 (aC), Conspiracy to Possess with Intent to

$41(b)(1)(C) and 846 Distribute Marijuana

21 ULS.C. §§ 841(a)X(1), Possession with Intent to Distribute

841(b)(1)(B)(i) and 500 Grams or More of Cocaine

18 U.S.C. § 2

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing

Reform Act of 1984.

__ The defendant has been found not guilty on count(s)
Count(s) (is)(are) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic

circumstances.

JUDGMENT IN A CRIMINAL CASE

8:11-cr-356-T-30EAJ

55236-018

OFFENSE ENDED

June 6, 2011

June 6, 2011

June 3, 2011

 

Three

Date of Imposition of Sentence: April 30, 2012

DATE: May pt 2012

 
Case 8:11-cr-00356-JSM-AAS Document 270 Filed 05/01/12 Page 2 of 6 PagelID 969

AO 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant: ANTONIO LEWIS SMITH Judgment - Page 2 of 6
Case No.: 8:1 1-cr-356-T-30EAJ

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and EIGHTY-NINE (189) MONTHS as to each of Counts One, Two,
and Three of the Indictment, all such terms to run concurrently.

__ The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FC] Coleman or FCI
Jesup (GA), if possible. The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.

_X_ The defendant is remanded to the custody of the United States Marshal.
__ The defendant shall surrender to the United States Marshal for this district.

__at__ am./p.m. on __.
___as notified by the United States Marshal.

__ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
__ before 2 p.m. on__.

___as notified by the United States Marshal.
__as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
[ have executed this judgment as follows:
Defendant delivered on to
_ at , with a certified copy of this judgment.

 

United States Marshal

By:

 

Deputy United States Marshal
Case 8:11-cr-00356-JSM-AAS Document 270 Filed 05/01/12 Page 3 of 6 PagelD 970

AO 245B (Rev. 09/11) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

 

Defendant: ANTONIO LEWIS SMITH Judgment - Page _3 of _6_

Case No.: 8:11-cr-356-T-30EAJ
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of TEN (10) YEARS. This term
consists of TEN (10) YEARS as to Count One of the Indictment , a SIX (6) YEAR term as to Count Two, and an EIGHT (8) YEAR
term as to Count Three of the Indictment, all such terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

x The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other

acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

1) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
with such notification requirement.
Case 8:11-cr-00356-JSM-AAS Document 270 Filed 05/01/12 Page 4 of 6 PagelD 971

AO 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

 

Defendant: ANTONIO LEWIS SMITH Judgment - Page _4 of _6_
Case No.: 8:1 ]-cr-356-T-30EAJ

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

x The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation officer’s
instructions regarding the implementation of this court directive. Further, the defendant shall be required to contribute to the costs
of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
Substance Abuse Treatment Services. During and upon completion of this program, the defendant is directed to submit to random
drug testing.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

>< |x

The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court orders random drug
testing not to exceed 104 tests per year.
Case 8:11-cr-00356-JSM-AAS Document 270 Filed 05/01/12 Page 5 of 6 PagelD 972

AO 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

 

Defendant: ANTONIO LEWIS SMITH Judgment - Page _5 of _6_
Case No.: 8:11-cr-356-T-30EAJ

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Total Restitution
Totals: $300.00 Waived N/A
The determination of restitution is deferred until__. An Amended Judgment in a Criminal Case (AO 245C) will

be entered after such determination.

he defendant must make restitution (including community restitution) to the following payees in the amount listed
elow.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
3664(i), all non-federal victims must be paid before the United States.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
Totals: $ §

Restitution amount ordered pursuant to plea agreement $

_ The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived forthe __—s fine __ restitution.

the interest requirement forthe ___ fine ___ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
Case 8:11-cr-00356-JSM-AAS Document 270 Filed 05/01/12 Page 6 of 6 PagelD 973

AO 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant: ANTONIO LEWIS SMITH Judgment - Page 6 of 6_
Case No.: 8:11-cr-356-T-30EAJ

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

Xx Lump sum payment of $ 300.00. due immediately, or

Payment to begin immediately (may be combined with = C,__—s@D, or ___ F below); or

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period

of (e.g., months or years), to commence days (e.g., 30 or 60 days) after the date of this

judgment, or

D. Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
, (e.g., months or years) to commence (e.g. 30 or 60 days) after release from

imprisonment to a term of supervision; or

E, Payment during the term of supervised release will commence within (e.g., 30 or 60

days) after release from imprisonment. The court will set the payment plan based on an assessment of the

defendant's ability to pay at that time, or

F. Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment, All criminal monetary penalties, except those payments made through the Federal
ureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):
The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
